Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 1 of 25




                 EXHIBIT A
            Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 2 of 25




Results for: marilyn mosby
News

1.     In defense of Marilyn Mosby
       The Baltimore Sun | Aug 31, 2022 | MAIN; A; Pg. 17 | 836
       ... In defense of Marilyn Mosby...
       ... A lot of people don't like Marilyn Mosby simply because she's a Black woman. There. I said it. And I
       wrote this column for you. Yet, I know that you don't want to hear it or acknowledge it or consider it. And
       you certainly will never accept it. No...
       ... voicemails for her from other states. Why your attention is glued to every move she makes. I'm saying
       you don't like Ms. Mosby because she is everything a Black woman is not supposed to be: She is proud,
       confident, arrogant, intelligent, successful and...
       ... won't. She will not wear your sackcloth and ashes. Now, she has been soundly voted out of office as
       Baltimore's States Attorney, and still that is not enough for some. She must be cast out with neither shelter
       nor good reference. When Ms. Mosby arrives...
       ... using Air Force One, and spent too much time sculpting her arms into smooth curves of envy. Ms.
       Mosby is a Black woman in the black house. That is how majority-minority Baltimore City is viewed,
       especially from the outside. She has put in no effort to...


2.     A complex assessment of Marilyn Mosby does most good
       The Baltimore Sun | May 01, 2022 | MAIN; A; Pg. 13 | 981 | Steven P. Grossman
       ... A complex assessment of Marilyn Mosby does most good...
       ... , Marilyn Mosby , has led to some people treating her as a martyr prosecuted because of her race, her
       gender and her progressive policies as a prosecutor. Others view her as another ethically challenged
       politician, whose private morals do not match the ones...
       ... shrillness of social media. When it comes to Marilyn Mosby , such polarization is acute. In the aftermath
       of the death of Freddie Gray while in police custody in 2015, Baltimore divided into two camps: those who
       believed Ms. Mosby overcharged the officers who...
       ... fairness require that we let the prosecution play out before we assess the guilt or innocence of Ms.
       Mosby . Where we may not be able to wait, however, regards the decision whether Ms. Mosby should be
       kept on as state's attorney. The law makes it very...
       ... into leaving. You may recall the strong words of both Ms. Mosby and her counsel demanding a quick
       trial to resolve the charges against her. In February she said, "What I'm asking for is to be tried right now
       because I am innocent, and the citizens of...


3.     Federal judge makes some documents public in Marilyn Mosby case
       The Baltimore Sun | May 20, 2022 | MAIN; A; Pg. 3 | 601 | Lee O. Sanderlin
       ... Federal judge makes some documents public in Marilyn Mosby case...
       ... Some previously sealed documents in the criminal case against Baltimore State's Attorney Marilyn
       Mosby will become public after a federal judge sided with The Baltimore Sun and other news outlets who
       requested the court revisit its decision to seal...
                                                                          Page 2 of 24
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 3 of 25
     ... President Nick Mosby, Marilyn 's husband, who is not charged with a crime. No details of that
     conversations were disclosed. The news outlets filed a motion to intervene in the case because of the belief
     courts are meant to be open to the public, and that...
     ... share all exculpatory evidence it has in regards to his client, even for crimes or transgressions that aren't
     the subject of Mosby 's case. Mosby is charged with two counts of perjury and two counts of making false
     statements on loan applications in...
     ... that prosecutors possess recorded phone calls between Mosby and Nationwide, the company that
     manages retirement accounts for Baltimore employees. Mosby 's perjury charges stem from her making
     early withdrawals from her city retirement savings account...


4.   Prosecutor Marilyn Mosby : Wronged or wrongdoer? Readers weigh in on
     the federal indictment of Baltimore state's attorney
     The Baltimore Sun | Jan 24, 2022 | MAIN; A; Pg. 8 | 1581
     ... forced to comply by an independent ethics board. Usha Nellore, Bel Air What's the real reason for this
     Mosby open season? I've been listening and following and reading with great interest the discussion about
     Marilyn Mosby and the charges placed upon her...
     ... by the federal government ("Baltimore State's Attorney Marilyn Mosby indicted on federal charges she
     lied on financial transactions to buy homes in Florida ," Jan. 13). I tried to imagine this young, Black,
     natural-hair wearing, African American woman...
     ... not keep her promise? You know, like America has promised the African American public. The haters are
     going to hate. And not surprising, my hometown Baltimore radio is full of Marilyn Mosby haters. Many
     hosts and callers, who are great accountants as...
     ... innocent, but if guilty as charged then that must be accepted. Stas Chrzanowski, Baltimore Mosby
     targeted for 'smear campaign' Once again a columnist for The Baltimore Sun is engaged in playing judge
     and jury in the situation involving Marilyn Mosby , state...
     ... salary? It is all about values for me! It's not about "political and racial animus." Marilyn Mosby 's
     indictment on criminal charges may result in jail time or loss of office or public censure or nothing. The
     result, however, for me is disappointment...


5.   Marilyn Mosby indictment another blow to Baltimore
     The Baltimore Sun | Jan 19, 2022 | MAIN; A; Pg. 12 | 849
     ... Marilyn Mosby indictment another blow to Baltimore...
     ... Marilyn Mosby is many things to many people. Baltimore's state's attorney has been a rising political
     star. She is smart, energetic, progressive, reform minded and the source of some pride within the city's
     Black community. And she is innocent until...
     ... difficult to see the outlook for reducing the homicide count somehow improved by this circumstance. Let's
     be frank: Long before federal prosecutors set their sights on Ms. Mosby 's financial dealings, she was a
     political lightning rod. Many in the city...
     ... . De Sousa is Black, Mr. Norris is white. Again, Ms. Mosby deserves her day in court which,
     unfortunately, could be months or more away. That leaves at least two challenges: how best to prosecute
     criminals while this cloud hangs over her; and how to...
     ... judge her behavior when a primary election beckons on June 28, and not all the facts are on the table.
     The latter circumstance will simply be left to voters to judge. Much of the case against Ms. Mosby comes
     down to documents with her signature on them...


6.   Marilyn Mosby indicted Federal charges state she lied on financial
     documents to buy homes in Fla.
                                                                          Page 3 of 24
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 4 of 25
     The Baltimore Sun | Jan 14, 2022 | MAIN; A; Pg. 1 | 1489 | Justin Fenton, Tim Prudente and Lorraine
     Mirabella
     ... Marilyn Mosby indicted Federal charges state she lied on financial documents to buy homes in Fla....
     ... A federal grand jury has indicted Baltimore's top prosecutor Marilyn Mosby on charges of perjury and
     making false statements with a series of financial transactions that helped her buy a condo on Florida 's
     Gulf Coast and another property near...
     ... a lower interest rate. The cloud of indictment has loomed over Mosby for nearly a year, since federal
     prosecutors issued subpoenas in March for a wide range of financial records from her and her husband,
     City Council President Nick Mosby. Marilyn...
     ... Mosby is now charged with four felonies that could bring prison time, even as her election for a third
     term looms in June. Federal prosecutors have not accused Nick Mosby of wrongdoing. The indictment
     alleges Marilyn Mosby sought a $40,000 withdrawal...
     ... organization. The Sun reported in late 2020 that a $45,000 federal tax lien had been placed against the
     Mosbys. Court records show the couple repaid the debt in July. Marilyn Mosby also has faced questions
     about a travel company she formed in 2019 and did not...


7.   City Council head walks 'fine line' after wife charged As Marilyn Mosby fights
     for her political life, navigating public role could be challenging for uncharged
     husband Nick Mosby
     The Baltimore Sun | Jan 18, 2022 | MAIN; A; Pg. 1 | 1522 | Jean Marbella
     ... City Council head walks 'fine line' after wife charged As Marilyn Mosby fights for her political life,
     navigating public role could be challenging for uncharged husband Nick Mosby...
     ... against them that was in place for more than a year and now the indictment of Marilyn Mosby , the
     Mosbys continue to enjoy the support of many who see them as a unique and even glamorous local power
     couple. "They're a likable couple who have achieved a...
     ... said. Like other talk radio hosts, former Democratic state Sen. Larry Young said he is seeing strong
     support for Marilyn Mosby from his WOLB callers, some of whom view the indictments as a "paperwork"
     issue with her personal finances rather than any...
     ... down, they say, only further strengthens a belief that the system is racially biased. Muhammad is among
     those who say Marilyn Mosby should stand again for her office to give voters "the opportunity to say if she
     should step down." As for the future...
     ... scene played out in less-familiar fashion. There was no spouse standing behind her, an absence all the
     more eyebrow-raising given that Mosby 's husband is himself a top officeholder, Democratic City Council
     President Nick Mosby. Publicly silent since...


8.   Financial hardship is Marilyn Mosby's defense? Good luck with that.
     commentary
     The Baltimore Sun | Jan 19, 2022 | MAIN; A; Pg. 3 | 910 | Dan Rodricks
     ... Financial hardship is Marilyn Mosby's defense? Good luck with that. commentary...
     ... That's it? That's Marilyn Mosby's defense? She tapped into her tax-deferred retirement savings in 2020
     because private companies that she established just the year before faced financial hardship due to the
     pandemic - even though said companies had...
     ... to the national media with this explanation last week, a few hours after the indictment was handed down.
     In one appearance, he said this: "Remember, Marilyn Mosby had businesses, if you will, and so those
     businesses were in the travel space and they...
     ... operational. In fact, we were told, the companies are not intended to launch until after Mosby leaves
     office. And didn't we all breathe a sigh of relief at that? Furthermore, in July 2020, Mosby asked Baltimore's
     inspector general to conduct an investigation...
                                                                           Page 4 of 24
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 5 of 25
      ... : Mosby is innocent until proven guilty. But her lawyer seems determined to defend her in pretrial press
      appearances, so I could not resist a rebuttal just based on what's available in the public record. By the way,
      Mosby's attorney, A. Scott Bolden , went...


9.    Latest court filings 'anything but dispassionate' Clash continues as lawyers
      want judge to stop the government from using certain evidence at trial
      marilyn mosby perjury case
      The Baltimore Sun | Aug 08, 2022 | MAIN; A; Pg. 3 | 812 | Lee O. Sanderlin
      ... Latest court filings 'anything but dispassionate' Clash continues as lawyers want judge to stop the
      government from using certain evidence at trial marilyn mosby perjury case...
      ... Federal prosecutors and lawyers for State's Attorney Marilyn Mosby continue to clash in the latest
      round of legal filings in the criminal case against Baltimore's top prosecutor. With Mosby charged with two
      counts of perjury and two counts of...
      ... money in any way she saw fit." In a filing by prosecutors, they included an attachment showing the
      inflows and outflows of cash from Mosby 's personal bank accounts, as well as her credit card purchases
      and debts. The attachment shows Mosby actually...
      ... "objective evidence" for those claims and that many of her allegations weren't substantiated. Despite that
      ruling, Mosby 's legal team continues to push that narrative, possibly on the grounds that a jury would enter
      a "nullification," letting Mosby off the...
      ... argument over expert testimony, chiefly whether the government is calling experts and if Mosby will
      disclose her own experts' planned testimony, something she was supposed to do by July 1, but hasn't. One
      of the reasons Mosby 's trial was postponed from May...


11.   Baltimore prosecutor Mosby claims she didn't know about tax lien, accuses
      prosecutors of bias
      The Daily Record (Baltimore, MD) | Feb 19, 2022 | NEWS | 1082 | Madeleine O'Neill
      ... . The motions, which ask a federal judge to dismiss the indictment against Marilyn Mosby , also argue
      that the prosecutors pursuing the case are biased against her. Since Mosby 's indictment on Jan. 13, she
      and her lawyer have both accused member of the...
      ... that Nick Mosby told his wife incorrectly that the lien had been paid off in November 2020. Marilyn
      Mosby 's lawyer, A. Scott Bolden , argued in the motions that this lack of communication meant Marilyn
      Mosby did not know about the lien when she...
      ... . Bolden wrote in a September 2021 letter to the DOJ that Marilyn Mosby had not yet filed her 2020
      taxes and that the alleged loss to the government in 2019 amounted to only $4,000. Bolden in the letter
      also noted that Marilyn Mosby considered separating...
      ... effort to convince decisionmakers there to halt the investigation into Marilyn Mosby and turn their sights
      toward their own prosecutors. Bolden repeatedly accused the lead prosecutor on the case, Wise, of holding
      a grudge against Marilyn Mosby . He...
      ... pointed to a dispute between Wise and Marilyn Mosby over an alleged leak from her office about federal
      investigation into the corrupt Gun Trace Task Force a disputed claim that Marilyn Mosby argued had
      never been backed up by any evidence. In the pretrial...


12.   Residents split on claims of 'witch hunt' State's attorney has been polarizing
      figure in the city MARILYN MOSBY INDICTMENT
      The Baltimore Sun | Jan 16, 2022 | MAIN; A; Pg. 1 | 1610 | Alex Mann and Christina Tkacik
                                                                           Page 5 of 24
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 6 of 25
      ... Baltimore State's Attorney Marilyn Mosby has been for months calling the investigation into her finances
      a "witch hunt," and now that she's been charged, David Turner agrees. "She stuck her neck out there
      during the Freddie Gray thing - a lot of...
      ... , including Marilyn Mosby 's attorney, to believe initially that they were seeking criminal tax-related
      charges against the power couple. David Jaros, faculty director of the Center for Criminal Justice Reform at
      University of Baltimore School of Law, said it...
      ... 's unlikely the U.S. attorney's office generally focuses resources on the type of violations outlined in the
      indictment against Marilyn Mosby . However, Jaros said, it's not surprising that federal prosecutors would
      pursue charges if they uncovered...
      ... something different: We'd go straight to jail." Baltimore residents and other leaders interviewed by The
      Baltimore Sun were divided in their reactions to Mosby being indicted Thursday by federal prosecutors: Are
      the charges justified because Mosby 's an...
      ... other residents expressed opinions about the indictment as Baltimore's elected leaders, including Mosby
      's husband, Democratic City Council President Nick Mosby, have stayed mostly quiet. Nick Mosby was not
      named in the indictment and has not been...


13.   Q&A Baltimore's Marilyn Mosby and attorney on the criminal tax
      investigation of her and her husband
      The Baltimore Sun | Aug 01, 2021 | MAIN; A; Pg. 8 | 2778
      ... of Marilyn and Nick Mosby over unpaid federal taxes between 2014 and 2016, according to a filing in
      Baltimore Circuit Court. Nick Mosby said in October that it resulted from an early withdrawal from his
      retirement savings plan for "unplanned expenses...
      ... entities? No. And, Marilyn Mosby categorically denies any such allegations Baltimore's Union Baptist
      Church received a federal grand jury subpoena seeking information about whether Nick Mosby had made
      contributions there, the church's attorney, Robert...
      ... the office, Bolden had accused Schenning and Wise of making reckless accusations in 2018 that a leak
      in Marilyn Mosby 's office tipped off members of the Baltimore Police Department's Gun Trace Task Force
      that there was a federal investigation underway...
      ... , doesn't resolve the issue - it exacerbates the potential harm to my client less than a year out from her
      re-election. Marilyn Mosby won election to a four-year term in 2014 and was reelected in 2018. Have the
      feds given any indication, in writing or...
      ... ' personal, political and perhaps racial animus against Mrs. Mosby and continuing the investigation any
      further is a miscarriage of justice. What would you say to folks in Baltimore who are wondering if Marilyn
      Mosby did anything wrong with her taxes, what...


14.   'Fight of our lives' Marilyn Mosby speaks at Baltimore's Empowerment
      Temple during Sunday morning service, days after federal indictment
      The Baltimore Sun | Jan 17, 2022 | MAIN; A; Pg. 3 | 1061 | Christine Condon
      ... 'Fight of our lives' Marilyn Mosby speaks at Baltimore's Empowerment Temple during Sunday morning
      service, days after federal indictment...
      ... Baltimore State's Attorney Marilyn Mosby got a warm reception Sunday morning at Baltimore's
      Empowerment Temple AME church, days after she was indicted on charges alleging she lied on financial
      documents. After beginning his sermon, the Rev. Robert...
      ... Turner summoned Mosby and her husband, Baltimore City Council President Nick Mosby, to the front of
      the church, where they were encircled by congregants, who joined hands in prayer. "We rebuke the enemy
      and his attack on their life. The Devil is a liar...
      ... loans to purchase the two properties, prosecutors argue Mosby lied again, saying she was not indebted
      to the federal government when in fact she owed thousands in unpaid taxes. During his sermon Sunday,
      Turner repeatedly cited the charges against Mosby...
                                                                           Page 6 of 24
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 7 of 25
      ... wrong," Turner said of Mosby. Speaking before the congregation for about five minutes Sunday, Mosby
      struck a defiant tone, although she stressed the difficulties of her job as state's attorney for the city.
      "Despite the death threats, the hate mail, the...


17.   Mosby urged to return funds Council members press president to comply
      with order on legal defense trust
      The Baltimore Sun | May 15, 2022 | MAIN; A; Pg. 1 | 1286 | Emily Opilo
      ... , which was established to benefit him and his wife, State's Attorney Marilyn Mosby . The council
      president also violated the ethics code by indirectly soliciting donations to the fund, ethics board members
      said. "We write to express to you our dismay at...
      ... neither Nick nor Marilyn Mosby has reported contributions to the fund on their most recent ethics
      disclosure statements, due after the creation of the fund. The prominent political pair have been the target
      of a federal investigation into their finances...
      ... that resulted in January with Marilyn Mosby being indicted on two counts of perjury and two counts of
      making false statements on loan applications to buy two properties in Florida : an eight-bedroom house
      near Disney World and a condo on the state's...
      ... Gulf Coast. Federal prosecutors say Marilyn Mosby perjured herself by falsely claiming financial
      hardship because of the coronavirus to make early, penalty-free withdrawals from her city retirement
      savings under the federal CARES Act. They also accused...
      ... Mosby has pleaded not guilty and is scheduled to go to trial this fall. Nick Mosby said Thursday he
      "proactively disclaimed" any interest in the legal defense fund and never received any money from it. As
      state's attorney, Marilyn Mosby is governed by...


20.   Court will pick up tab for Mosby 's witnesses
      The Baltimore Sun | Jul 06, 2022 | MAIN; A; Pg. 1 | 978 | Alex Mann and Lee O. Sanderlin
      ... The court will help pay the cost of the expert witnesses Baltimore State's Attorney Marilyn Mosby plans
      to call in defense against federal perjury and mortgage fraud charges, a judge ruled Tuesday. Mosby 's
      lawyers have indicated they intend to rely...
      ... ruling. The board has no jurisdiction over Marilyn Mosby . The Mosbys have used campaign finance
      money to help cover their legal expenses over the years. In her January filing, Marilyn reported spending
      nearly $48,000 on lawyers, including $37,500 to Reed...
      ... Smith LLP, where Bolden is a partner. The Maryland State Board of Elections found Mosby 's campaign
      spending did not violate election law. Even though officials OK'd that spending, future spending could result
      in a violation. Marilyn Mosby did not report...
      ... services" Mosby requested are "necessary" and that Mosby is "financially unable to obtain these
      services at this time to adequately prepare for trial." Griggsby found that Mosby , who makes a salary of
      about $248,000 a year from the city, has "sufficient...
      ... two years, and this is where we are: hundreds of thousands of dollars in debt in attorneys fees," Mosby
      told reporters on the steps of Baltimore's federal courthouse on April 14. Mosby , the city's two-term
      elected prosecutor, is scheduled to stand...


23.   Mosby 's type of alleged fraud 'happens all the time' Experts explain
      frequently used financial tactics on mortgage applications
      The Baltimore Sun | Mar 17, 2022 | MAIN; A; Pg. 1 | 1399 | Lee O. Sanderlin and Giacomo Bologna
                                                                           Page 7 of 24
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 8 of 25
      ... time of her application, Mosby had a $45,000 federal tax lien against her and her husband. Marilyn
      Mosby claimed she didn't know about the lien because her husband, Democratic Baltimore City Council
      President Nick Mosby, handled their taxes. They paid...
      ... the Kissimmee house to a Baltimore County resident for a $150,000 profit. The buyer told The Baltimore
      Sun they didn't know Mosby. Marilyn Mosby 's allegedly fake $5,000 gift from her husband On Dec. 10,
      2020, the day she attended her husband's...
      ... come from the donor and can't be something the recipient has to pay back. But prosecutors claim Nick
      Mosby didn't actually give his wife $5,000. Instead, Marilyn Mosby wired $5,000 to her husband right
      before she got her paycheck, which gave her enough...
      ... Marilyn Mosby didn't have enough money at the time her account was checked, prosecutors are
      suggesting she had to lie about the source of the rest of it, even if she would have had enough to cover the
      payment by the closing date. Saul suggested Mosby opted...
      ... Mosby 's apparent plan to skirt higher interest rates and down payments. Marilyn Mosby still owns the
      Gulf Coast condo, according to Florida property records. Mosby 's retirement account withdrawals draw
      scrutiny Prosecutors charged Mosby with perjury...


24.   Prosecutors add new details in case against State's Attorney Mosby
      The Daily Record (Baltimore, MD) | Mar 10, 2022 | NEWS | 514 | Madeleine O'Neill
      ... Federal prosecutors reinforced their claims against Baltimore State's Attorney Marilyn Mosby Thursday
      in a superseding indictment that added details to the criminal case against the city's top prosecutor. The
      superseding indictment does not add any...
      ... the home. In fact, the indictment alleges, Marilyn Mosby wired her husband the $5,000 in February
      2021. Nick Mosby had less than $5,000 in his checking account at that time, according to the new filing. He
      moved the $5,000 from his wife into his...
      ... alleges that Marilyn Mosby submitted the false gift letter in order to lock down a favorable interest rate
      rather than waiting for her next paycheck to be deposited. The new indictment also charges that Mosby
      falsely claimed that she had been living in...
      ... 's purchase of a vacation home in Long Boat Key, Florida . The new details allege that Mosby falsely
      claimed that she was receiving $5,000 from her husband, City Council President Nick Mosby, as a gift that
      she could put toward the closing costs on...
      ... pleaded not guilty at her initial appearance last month. In pretrial motions, Bolden said Mosby did not
      know about the tax lien when she applied for the Florida mortgages. The motions blame Mosby ’s husband
      for failing to inform her of a series of tax...


25.   Mosby 's trial rules tightened by judge Prosecutors can't mention past
      investigations of her
      The Baltimore Sun | Sep 08, 2022 | MAIN; A; Pg. 1 | 1118 | Lee O. Sanderlin
      ... A federal judge barred prosecutors Wednesday from mentioning any of the previous investigations into
      Baltimore State's Attorney Marilyn Mosby at her perjury and mortgage fraud trial later this month, making it
      harder for the government to introduce...
      ... January, Bolden suggested something to the contrary in an appearance on Roland Martin's YouTube
      show. "Remember, Marilyn Mosby has businesses, if you will," Bolden said then, referencing LLCs she
      registered in the travel and consulting sectors. "And so...
      ... Mosby 's previous comments about her side businesses. U.S. District Judge Lydia Kay Griggsby said
      during the first of two pretrial hearings that any mention of previous investigations into Mosby would be
      "very prejudicial" at trial, meaning it could...
      ... trial was a small win for the embattled Democrat. While Griggsby granted Mosby 's motion to exclude
      evidence of past investigations, she did deny three other defense motions: a motion to stop an FBI
      accountant and IRS revenue officer from testifying, a...
                                                                          Page 8 of 24
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 9 of 25
      ... ' motions placing limits on what Mosby 's experts could say at trial and prohibiting the defense from
      entering previously disproven evidence of personal and racial animus on the government's behalf. Mosby
      's lead defense attorney, A. Scott Bolden , said...


26.   If she's guilty, feds plan to seize Mosby condo in Fla.
      The Baltimore Sun | Aug 23, 2022 | MAIN; A; Pg. 3 | 777 | Lee O. Sanderlin
      ... Federal prosecutors said in court filings that the government plans to try to seize Baltimore State's
      Attorney Marilyn Mosby 's Florida Gulf Coast vacation condo if she's convicted of perjury and mortgage
      fraud. The city's top prosecutor is charged...
      ... Council President Nick Mosby didn't actually give his wife $5,000. Instead, Marilyn Mosby wired $5,000
      to her husband right before she got her next paycheck, which, had she waited for it, would have covered
      what she needed for the down payment. Nick Mosby...
      ... loan terms. Mosby and her lawyers have maintained her innocence, claiming the charges are politically
      motivated and that vindictive and racist prosecutors are leading the case against her. Her trial is set for
      Sept. 19. The two-term Democrat lost the...
      ... $545,000. Mosby still owns the condo, according to online property records, which she bought for
      $476,000 in February 2021. A listing on Zillow for the property values it now at $747,500. While Friday's
      court filings marked the first time prosecutors...
      ... September against the government's overreach." Prosecutors have taken issue with Mosby 's purchase
      of the condo because of her use of retirement funds to make the down payment and because of assertions
      she made to her lender when being approved for a...


27.   Lawyer: Feds after Mosby for perjury, won't provide proof Allegedly pursuing
      charge over signature
      The Baltimore Sun | Oct 22, 2021 | MAIN; A; Pg. 3 | 857 | Tim Prudente
      ... visit to the city by President Joe Biden for a CNN town hall. Prominent attorney Ben Crump said Marilyn
      Mosby and other leading Black women prosecutors in America are ridiculed, mocked, sued and
      continuously investigated because of their work to bring...
      ... six grand jury subpoenas have been issued, seeking a wide range of financial records related to the
      couple, including tax returns, bank statements, credit card statements, loan documents and canceled
      checks. Marilyn Mosby 's campaign treasurer was...
      ... hunt because of Marilyn Mosby 's progressive politics. On Thursday, he again singled out a federal
      prosecutor on the case, Assistant U.S. Attorney Leo Wise, for donating $100 each to two Democrats who
      challenged Mosby in the primary election. He's...
      ... sought to connect the federal tax investigation to the administration of President Donald Trump and the
      Justice Department under former Attorney General William Barr. Bolden noted Barr publicly criticized
      Marilyn Mosby and other progressive prosecutors...
      ... Baltimore church to demand an end to the federal criminal tax investigation of Mosby and her husband,
      City Council President Nick Mosby. They invited news reporters to the Douglas Memorial Community
      Church just hours before and a mile away from a planned...


28.   Prosecutors call Mosby 's arguments to dismiss perjury charges 'Orwellian'
      The Baltimore Sun | Jul 01, 2022 | MAIN; A; Pg. 1 | 809 | Alex Mann and Lee O. Sanderlin
      ... Federal prosecutors responded Thursday to Baltimore State's Attorney Marilyn Mosby 's renewed push
      to dismiss the perjury charges against her by calling her legal arguments "Orwellian." After rejecting Mosby
      's first attempt to have the charges...
                                                                          Page 9 of 24
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 10 of 25
      ... as a possible explanation for why she sought the retirement money. "Remember, Marilyn Mosby has
      businesses, if you will," Bolden said in a January appearance on Roland Martin's YouTube show. "And so,
      those businesses were in the travel space and they...
      ... dismissed on the grounds of vindictive prosecution, U.S. District Judge Lydia Kay Griggsby agreed
      earlier this month to hear the two-term Democrat's new arguments for dismissal of the perjury charges.
      Mosby 's lawyers on June 1 argued that the perjury...
      ... . Prosecutors, in their response, called Mosby 's argument about ambiguity "Orwellian," or dystopian,
      and laid out how they plan to prove at trial in detail why she did not qualify for coronavirus relief.
      Prosecutors said the evidence will show Mosby did not...
      ... the charges on legal grounds, rather than using personal attacks against Maryland U.S. Attorney Erek
      Barron and lead prosecutor Leo Wise, who Mosby 's defense called racist. Griggsby didn't buy those
      arguments, calling them "problematic" in an April 14...


32.   Mosby granted court funding for experts in federal perjury case
      The Daily Record (Baltimore, MD) | Jul 05, 2022 | NEWS | 297 | Madeleine O'Neill
      ... A federal judge ruled Tuesday that Baltimore State's Attorney Marilyn Mosby qualifies for extra funding
      to help pay for experts in her criminal case. Mosby will be required to make periodic reimbursement
      payments to the court for the cost of expert...
      ... time to contribute towards the funds authorized by the Court to provide the aforementioned services."
      The order offers no details of how much funding Mosby has requested or what experts she plans to pay.
      The filing explains that the defense made an ex...
      ... parte request for funds under the Criminal Justice Act, which was intended to provide all defendants,
      regardless of their financial resources, with "any element of representation necessary to an effective
      defense." Mosby 's salary in 2020 was $247,955...
      ... , according to the indictment. The order also offers little information about the reimbursement payments.
      It requires Mosby to contribute toward the extra funding by making "periodic payments to the Office of the
      Clerk of Court in an amount to be determined by...
      ... the court." Mosby must inform Griggsby of her ability to make reimbursement payments every 30 days,
      according to the order. Mosby 's defense attorney, A. Scott Bolden , did not immediately return a request
      for comment. Copyright © 2022 BridgeTower...


34.   Mosby 's lawyers blame biases Attorneys accuse federal prosecutors in
      attempt to have case dismissed
      The Baltimore Sun | Feb 20, 2022 | MAIN; A; Pg. 1 | 1621 | Alex Mann and Emily Opilo
      ... Lawyers for Baltimore State's Attorney Marilyn Mosby presented a long-shot legal argument in their
      latest filing in federal court: The indictment against her should be dismissed because it is exclusively the
      result of federal prosecutors' animosity...
      ... part of the prosecutors," Mosby's attorneys wrote. They described her indictment as the culmination of a
      "crusade to ruin the political career of a young, progressive, Black, female elected official." Marilyn Mosby
      , 42, is charged with two counts of...
      ... said she was outside a State House committee room once when Marilyn Mosby walked by and
      Thompson expressed admiration for her. She said Barron responded by bringing up rumors about Marilyn
      Mosby 's "sex life" and said, "I don't get how she got where she...
      ... for Monumental Squared, a business owned by Nick Mosby. Documents included in the filing show
      Marilyn Mosby refused the request, arguing it was overly broad and amounted to an audit of Mosby 's
      taxes, which Lawless was not authorized to perform. The...
      ... comments about the case. But now, Mosby's attorneys also argue the U.S. attorney's office is
      participating in discriminatory prosecution that violates Mosby's constitutional rights to due process and
      equal protection. Even if they've raised legitimate...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 11 ofPage
                                                                          25 10 of 24


36.   Mosby 's defense team to argue for dismissal of indictment at Thursday
      hearing
      The Daily Record (Baltimore, MD) | Apr 08, 2022 | NEWS | 512 | Madeleine O'Neill
      ... The case against Baltimore State's Attorney Marilyn Mosby will move forward next week with a pretrial
      hearing on Mosby 's effort to have her federal indictment dismissed. Thursday's hearing marks the first
      time that Mosby 's defense team and federal...
      ... on one of the properties. Marilyn Mosby 's pretrial motions also claimed that she did not know about the
      tax lien when she applied for the Florida mortgages. The motions blamed Nick Mosby for failing to inform
      her of a series of tax problems and then...
      ... lawyers argued that the lead federal prosecutor, Assistant U.S. Attorney Leo Wise, has a personal
      vendetta against Mosby and should be disqualified from the case. Mosby 's attorney, A. Scott Bolden , has
      pointed to the fact that Wise contributed small...
      ... amounts to both of Mosby 's competitors in the 2018 Democratic primary when she last ran for re-
      election. In its response, the government accused Mosby of inventing a "tale of victimhood" to deflect from
      the charges against her. Mosby faces two counts each...
      ... week did not appear to limit the number of observers. Mosby's case is scheduled for a trial on Sept. 19.
      The trial had been set to begin on May 2, but Bolden asked for more time to meet upcoming deadlines and
      Griggsby on Tuesday granted that request...


37.   Mosby 's first court appearance set for Friday in federal perjury case
      The Daily Record (Baltimore, MD) | Jan 31, 2022 | NEWS | 424 | Madeleine O'Neill
      ... Embattled Baltimore State's Attorney Marilyn Mosby will make a virtual court appearance Friday, her
      first scheduled hearing since being federally indicted on perjury and false statements charges. Mosby 's
      initial appearance is set for 1:30 p.m...
      ... 's husband, Baltimore City Council President Nick Mosby, was also investigated but has not been
      indicted. Assistant U.S. Attorney Leo Wise, who has become known for his aggressive pursuit of public
      corruption cases, is prosecuting Marilyn Mosby...
      ... likely decide on conditions for Mosby 's pretrial release at the hearing. The long-rumored indictment
      against Mosby appeared earlier this month in U.S. District Court in Baltimore. The city's top prosecutor
      faces two counts each of perjury and making...
      ... the properties, which were located in Kissimmee and Long Boat Key. Mosby and her lawyer, A. Scott
      Bolden , have attacked the prosecution as politically and racially motivated. Mosby is up for reelection this
      year. “This indictment is merely a political...
      ... firm Reed Smith LLP, and a number of other lawyers from the firm. Bolden has also told the media that
      Mosby had "other business interests" that were affected by the COVID-19 pandemic, though he has
      declined to offer many details. Mosby remained under...


38.   Mosby fined $1,500 for 'willful violation' of gag order in Davis case
      The Daily Record (Baltimore, MD) | Aug 12, 2022 | NEWS | 420 | Madeleine O'Neill
      ... A Baltimore circuit judge fined city State's Attorney Marilyn Mosby $1,500 Friday for willfully violating a
      gag order when she made a comment about a controversial homicide case on Instagram last month.
      Mosby can avoid paying the fine by following...
      ... . He oversaw a hearing Friday to determine whether Mosby should be held in civil contempt for violating
      the gag order in the Davis case. Mosby was present in the courtroom but did not have to testify or address
      Nugent . She shook her head as Nugent...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 12 ofPage
                                                                          25 11 of 24
      ... posted a video asserting Davis's innocence. A user commented that Mosby had lost her vote in the
      upcoming Democratic primary for Baltimore state's attorney. Mosby responded: "You really shouldn't
      believe everything you read." Davis is set to face trial...
      ... include Davis’ wife and activist DeRay Mckesson, who is involved in the effort to bring public attention to
      the case in the late morning of June 7. Mosby was included under the order. Nugent on Friday declined to
      find Mosby in contempt for comments she...
      ... made the same day the gag order was issued during an interview on WYPR. Nugent found that Mosby
      had not yet seen the written order and so could not have willfully violated it at that time. But he questioned
      why Mosby would comment about the case on...


40.   In first court appearance, Mosby pleads not guilty and pushes for speedy
      trial
      The Daily Record (Baltimore, MD) | Feb 04, 2022 | NEWS | 502 | Madeleine O'Neill
      ... Baltimore State's Attorney Marilyn Mosby found herself on the other side of the legal system Friday
      when she appeared as a defendant in court for the first time to answer federal perjury charges. Mosby
      pleaded not guilty to all four counts, as is...
      ... month, alleged that Marilyn Mosby falsely claimed to have been financially impacted by the COVID-19
      pandemic in order to request withdrawals from her city of Baltimore employee retirement account in 2020.
      Mosby , whose salary was unaffected during the...
      ... brief moment of confusion among court staff about how many counts were included in the indictment,
      Mosby entered her not-guilty plea. "Your honor, I would plead not guilty to all four counts," she said.
      Mosby faces two counts each of perjury and making...
      ... shorter than the legal maximum. Federal investigators spent months digging into Mosby 's finances and
      those of her husband, Baltimore City Council President Nick Mosby, who has not been charged with any
      crimes. The indictment, which became public last...
      ... pandemic, allegedly used the withdrawals to make down payments on two Florida properties. Bolden has
      told the media that Mosby had “other business interests” that were affected by the COVID-19 pandemic,
      though he has declined to offer many details. Mosby is...


42.   Political race far from typical Campaign for state's attorney has added factor
      of indictment
      The Baltimore Sun | Jan 26, 2022 | MAIN; A; Pg. 1 | 1333 | Emily Opilo
      ... When Baltimore State's Attorney Marilyn Mosby mounted her first bid for reelection in 2018, she faced
      two serious challengers in defense attorney Ivan Bates and former prosecutor Thiru Vignarajah . The pair
      attacked the then first-term incumbent on...
      ... stations are hammering it home every day," she said of local television and radio coverage of Mosby 's
      indictment. "If you're a Marilyn Mosby supporter or someone who understands what it's like to be an
      underdog, it is going to rile you up." The charges...
      ... cannot prosecute while under indictment, he said. "They've got to give people a reason, and it can't be
      I'm not Marilyn Mosby ," he said. "Proclaiming that you're not Marilyn Mosby won't get you elected."
      Mosby 's challengers have been reluctant so far to...
      ... words of our enemies, but the silence of our friends,' " Whitehead said. "Baltimore is that kind of place." "
      Marilyn Mosby 's friends are not being silent," she said. Baltimore Sun reporter Alex Mann contributed to
      this article ....
      ... the city's homicide rate and her effectiveness in office, but Mosby still took the race by a landslide
      margin. Now, as Mosby enters her third campaign season, she again faces two Democratic opponents. But
      this time, the city's top prosecutor confronts...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 13 ofPage
                                                                          25 12 of 24

43.   Judge lets Mosby continue push to dismiss indictment State's attorney faces
      charges of perjury, false statements
      The Baltimore Sun | Jun 19, 2022 | MAIN; A; Pg. 4 | 600 | Alex Mann
      ... A federal judge has allowed Baltimore State's Attorney Marilyn Mosby 's renewed push to have some of
      her charges dismissed to go forward, paving the way for another round of legal papers and, eventually,
      arguments in court. U.S. District Judge Lydia...
      ... lawyers argued the case should be dismissed because the indictment was tainted by the alleged animus
      for Mosby harbored by Wise, Barron and other officials in the federal prosecutors' office. The prosecutors
      vehemently disputed the claims, and Griggsby...
      ... wasn't convinced by Mosby 's lawyers, calling portions of the defense argument "problematic." She
      denied their motion, and kept the case on course for a trial currently scheduled for Sept. 19. With the
      appearance of two new lawyers for Mosby , bringing...
      ... her defense team to six attorneys, Mosby raised a new position earlier this month: The perjury charges
      related to her retirement savings withdrawals should be dismissed, the defense argued, because the
      language in the federal government's guidelines...
      ... outside of Griggsby 's deadlines, Mosby 's lawyers needed permission from the judge to allow the
      argument to proceed. That meant Griggsby had to find the defense presented good reason to file
      something outside of the schedule she mandated. The defense...


45.   Judge sets hearing schedule for final weeks before Mosby trial
      The Daily Record (Baltimore, MD) | Aug 17, 2022 | NEWS | 575 | Madeleine O'Neill
      ... The federal judge handling Baltimore City State's Attorney Marilyn Mosby 's criminal case has
      scheduled a final set of hearings to deal with outstanding legal issues ahead of the trial that starts Sept. 19.
      In an updated scheduling order filed this...
      ... Democratic primary for Baltimore state's attorney for months as Mosby sought reelection. She ultimately
      lost, placing third out of three candidates, and will be out of office early next year. But for now, Mosby
      remains Baltimore's top prosecutor and will face...
      ... that Mosby is the victim of a vindictive prosecution. Mosby 's lawyers previously tried to have the case
      thrown out on that basis, claiming that the government targeted Mosby for prosecution out of personal
      animus or other improper bias. Griggsby...
      ... : Mosby granted court funding to hire expert witnesses The defense and prosecution have also sparred
      over expert witnesses. Mosby 's team claims the government is seeking to admit improper expert testimony
      from witnesses who will explain her finances and...
      ... IRS lien and making a series of other false statements when she applied for mortgages on two vacation
      properties in Florida . Mosby has asked Griggsby to block prosecutors from using the terms "financial
      hardship" or "hardship withdrawal" during the...


47.   Top Baltimore prosecutor to be tried in May in federal case
      Newsbank - Maryland News Sources | Feb 24, 2022 | NEWS; Pg. 9 | 343
      ... trial date for State’s Attorney Marilyn Mosby during a telephone call Wednesday with lawyers on the
      case. Mosby is running for reelection. The trial will be held before the Democratic primary on June 28.
      Calling it a “politically charged case,” defense...
      ... home in Kissimmee, Florida , and a condominium in Long Boat Key, Florida . Mosby pleaded not guilty
      to the charges at her Feb. 4 arraignment. Her trial is expected to last four days. Prosecutors didn’t seek
      Mosby ’s pretrial detention. Mosby , 41, was...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 14 ofPage
                                                                          25 13 of 24
      ... death sparked protests and riots. None of the officers was convicted. The indictment accuses Mosby of
      falsely stating that the COVID-19 pandemic harmed her finances so she could withdraw $90,000 from her
      city retirement account. Mosby ’s gross salary in...
      ... withdrawals. Mosby has asked U.S. District Judge Lydia Kay Griggsby to dismiss her indictment,
      claiming prosecutors have been driven by “malicious personal, political, and even racial animus.” Mosby is
      married to Baltimore City Council President Nick Mosby. He...
      ... Baltimore State’s Attorney Marilyn Mosby addresses the media outside her office on a day after her
      indictment on federal perjury charges on Friday, Jan. 14, 2022. JERRY JACKSON/THE BALTIMORE SUN
      VIA AP , FILE...


48.   Mosby asks to postpone federal trial until September
      The Daily Record (Baltimore, MD) | Apr 01, 2022 | NEWS | 272 | Madeleine O'Neill
      ... Mosby asks to postpone federal trial until September...
      ... Embattled Baltimore City State's Attorney Marilyn Mosby wants to postpone her federal criminal trial
      until September, reversing her previous push to conclude the case before the primary election. Her trial had
      been set to begin May 2, but Mosby 's...
      ... be unable to comply with the Court-imposed deadline" for motions in limine, Bolden wrote. Mosby faces
      two counts each of perjury and making false statements on loan applications. She has claimed that the
      prosecution is politically motivated and...
      ... targeted to hurt her chances at reelection this year. It was not immediately clear Friday what a
      postponement would mean for the election. Mosby has remained coy about her plans to run and has yet to
      formally file for reelection, though her campaign website...
      ... request to postpone Mosby 's trial. (This story will be updated.) Copyright © 2022 BridgeTower Media .
      All Rights Reserved....


50.   Mosby renews push to dismiss State's attorney again seeks to have perjury
      charges dropped
      The Baltimore Sun | Jun 03, 2022 | MAIN; A; Pg. 1 | 1023 | Lee O. Sanderlin
      ... Weeks after a judge denied her original request, lawyers for Democratic Baltimore State's Attorney
      Marilyn Mosby are trying again to have perjury charges against her dismissed. In court papers filed late
      Wednesday evening, Mosby 's lawyers asked U.S...
      ... why she sought the retirement money. "Remember, Marilyn Mosby has businesses, if you will," Bolden
      said in a January appearance on Roland Martin's YouTube show. "And so, those businesses were in the
      travel space and they were affected by [the...
      ... bite at the apple," Mosby 's lawyers wrote. Specifically, Mosby is asking Griggsby to dismiss counts 1
      and 3 of her indictment, which have to do with her claiming a financial hardship to withdraw money from her
      city retirement account. The assertions...
      ... ' solely to a person's salary has no foundation in law or reality and cannot be used as the basis for
      prosecuting State's Attorney Mosby under Counts 1 and 3," her lawyers wrote. Prosecutors allege Mosby
      lied in 2020 about experiencing financial hardship...
      ... to leverage $90,000 in funds she should not have had access to in order to get two vacation homes." In
      the past, Mosby 's lead defense attorney, A. Scott Bolden , had mentioned Mosby 's travel and consulting
      businesses as a possible explanation for...


52.   Judge sides with Mosby on keeping document sealed in federal perjury case
      The Daily Record (Baltimore, MD) | May 19, 2022 | NEWS | 416 | Madeleine O'Neill
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 15 ofPage
                                                                          25 14 of 24
      ... A federal judge has ruled that Baltimore State's Attorney Marilyn Mosby can keep under seal a
      document that several local news organizations sought to open to the public in Mosby 's federal criminal
      case. U.S. District Judge Lydia Kay Griggsby found...
      ... that information contained in the document could harm Mosby 's right to a fair trial if it were unsealed.
      "There is a compelling interest served by keeping this information confidential, because the public release
      of this information could reveal the...
      ... filed under seal so far in Mosby 's case. The news organizations' motion argued that there is a "strong
      presumption" that criminal case records will be open to the public. That presumption can only be overcome
      by a compelling interest that outweighs the...
      ... the record private. Griggsby agreed that record could remain sealed, citing Mosby 's right to a fair trial
      under the Sixth Amendment. She also found that redacting the document, instead of sealing it entirely, was
      "not feasible, given its substance and...
      ... the Defendant's compelling Sixth Amendment interest." The ruling provides little additional information
      about the record. Mosby faces two counts each of perjury and making false statements on loan
      applications. The indictment alleges that Mosby falsely...


54.   Baltimore State's Attorney Mosby indicted on federal perjury, false statement
      charges
      The Daily Record (Baltimore, MD) | Jan 13, 2022 | NEWS | 226 | Madeleine O'Neill
      ... Baltimore State's Attorney Mosby indicted on federal perjury, false statement charges...
      ... Baltimore City State's Attorney Marilyn Mosby has been federally indicted on two counts each of perjury
      and false statement on a loan application. The indictment was filed Thursday in U.S. District Court in
      Baltimore. It alleges that Mosby falsely...
      ... . She is also accused of following the same process to procure another $50,000 in December 2020,
      which she then allegedly used to make a down payment on a second vacation home in Long Boat Key,
      Florida . It also accuses Mosby of failing to disclose a...


55.   Judge sets new deadlines in State's Attorney Mosby 's criminal case
      The Baltimore Sun | May 25, 2022 | MAIN; A; Pg. 3 | 747 | Lee O. Sanderlin
      ... A federal judge has set new pretrial deadlines in Marilyn Mosby 's criminal case, but technical problems
      made it difficult for members of the public to hear any of the discussion surrounding the decision. Lawyers
      for the Baltimore State's Attorney...
      ... completed before the July 19 primary election date, whereas Mosby 's team proposed a schedule that
      would go through the primary and run up near the Sept. 19 trial date. Griggsby met the two sides in the
      middle, calling for some motions due from the...
      ... . In predominantly Democratic Baltimore, the primary winner typically wins the general election. "I know
      I've done nothing wrong, so I'm ready to go to trial tomorrow," Mosby said during a Feb. 1 appearance on
      MSNBC . "Put this on trial right now so I...
      ... can prove my innocence. But let's get to the election because I know that's what this is all about." But
      Mosby asked for a continuance in April, which Griggsby granted. Mosby also tried to have the case
      against her thrown out, but Griggsby sided with...
      ... with the virtual hearing, defense attorney Rizwan Qureshi could be heard guaranteeing his client's
      readiness for trial. "Ms. Mosby is prepared and eager to go to trial on the September 19 trial date," he said.
      Mosby is charged with two counts of perjury...


58.   Mosby supports unsealing one record in her criminal case, opposes opening
      another
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 16 ofPage
                                                                          25 15 of 24
      The Daily Record (Baltimore, MD) | May 16, 2022 | NEWS | 429 | Madeleine O'Neill
      ... In response to a motion filed by a group of Baltimore news organizations, Baltimore State's Attorney
      Marilyn Mosby has agreed that one sealed record in her federal criminal case should be opened to the
      public, but still wants to keep another record...
      ... ." Mosby 's attorneys wrote that the public's right to access criminal proceedings can, under certain
      circumstances, be overcome by a defendant's right to a fair trial. Further details about the document are not
      available because Mosby 's motion to seal...
      ... earlier document filed under seal could be opened. The sealed document includes four exhibits that were
      attached to a motion for a status conference that Mosby filed in late March. "When Ms. Mosby originally
      filed those exhibits under seal, she did so in...
      ... . District Judge Lydia Kay Griggsby ordered Mosby to respond by May 12. As of May 16, Griggsby has
      not yet ruled on Mosby 's request to keep one case record sealed, nor has she opened the records for
      which the motion to unseal was uncontested. Mosby faces two...
      ... counts each of perjury and making false statements on loan applications. The indictment alleges that
      Mosby falsely claimed she suffered financially during the COVID-19 pandemic in order to withdraw money
      from her city retirement account. She is also...


62.   Trial for Baltimore State's Attorney Mosby delayed until September
      The Daily Record (Baltimore, MD) | Apr 05, 2022 | NEWS | 393 | Madeleine O'Neill
      ... The criminal trial against Baltimore City State's Attorney Marilyn Mosby has been postponed until
      September, setting up a campaign season in which Mosby may seek reelection while under the threat of
      federal prosecution. U.S. District Judge Lydia Kay...
      ... Griggsby on Tuesday ordered Mosby 's trial rescheduled for Sept. 19. The trial had been set to begin on
      May 2, but Mosby 's lawyer, A. Scott Bolden , asked for more time to meet upcoming deadlines late last
      week. A hearing on pretrial motions in the case...
      ... remains scheduled for April 14. Mosby previously sought a quick trial so that the proceedings would
      conclude before the Democratic primary this summer. More recently, she has equivocated on whether she
      intends to run and has yet to formally file for...
      ... more time to prepare pretrial motions and resolve pending issues in the case. Federal prosecutors
      opposed the request, pointing to Mosby 's repeated statements to the press that she was prepared to go to
      trial as soon as possible. The parties met in a...
      ... motion to dismiss the indictment based in part on allegations that the lead prosecutor on the case,
      Assistant U.S. Attorney Leo Wise, has personal animus against Mosby and is pursuing a vindictive
      prosecution against her. The parties will address the...


65.   State's attorney pledges to fight criminal perjury case, calls to step down
      The Baltimore Sun | Jan 15, 2022 | MAIN; A; Pg. 1 | 1097 | Tim Prudente and Alex Mann
      ... Baltimore State's Attorney Marilyn Mosby struck a defiant tone Friday in her first public appearance
      since being indicted on federal perjury charges, pledging to fight a case that she called politically and
      racially motivated and heading off calls...
      ... a year. Federal prosecutors issued subpoenas last March for a wide range of financial documents from
      Mosby and her husband, City Council President Nick Mosby. The indictment alleges no wrongdoing by
      Nick Mosby. Bolden has maintained Marilyn Mosby is...
      ... with two counts of perjury and two counts of making false statements on loan applications to buy a condo
      on the Florida 's Gulf Coast and an eight-bedroom rental home near Disney World . According to the
      indictment, Mosby claimed a financial hardship...
      ... pandemic. Federal prosecutors, however, say Mosby suffered no such hardship and instead saw her
      salary increase by $10,000 to nearly $250,000 in 2020. In making the withdrawals, Mosby checked a box
      and affirmed under the penalty of perjury that she suffered...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 17 ofPage
                                                                          25 16 of 24
      ... , has seized on $100 donations Wise made to the political campaigns of Mosby 's two challengers in
      2018 and sought - albeit unsuccessfully - to have Wise removed from the case. The case against Mosby
      has been a matter of debate and speculation for nearly...


66.   Mosby doubles down to have perjury charges dismissed
      The Baltimore Sun | Jul 13, 2022 | MAIN; A; Pg. 1 | 657 | Alex Mann
      ... Baltimore State's Attorney Marilyn Mosby doubled down on an argument that the assertions she made
      under the penalties of perjury don't matter, and that the charges federal prosecutors brought against her as
      a result of those statements should be...
      ... the state's Gulf Coast, according to the indictment. But, lawyers for Mosby argued, her checking the box
      that she experienced financial hardship because of COVID-19 as a way to qualify for coronavirus relief
      doesn't matter because her assertion wasn't...
      ... consequences." Federal prosecutors last month described Mosby 's argument as dystopian. They said
      Nationwide wouldn't have disbursed the money but for Mosby 's lies and that the retirement plan relied on
      her statements, made under the penalty of perjury, to be...
      ... Lydia Kay Griggsby allowed to go forward. Griggsby will next hear from the lawyers in a courtroom.
      According to the judge's most recent scheduling order, the next hearing is set for Sept. 14, five days before
      Mosby 's trial. Mosby is running for a third...
      ... . Griggsby found Mosby could not afford to consult experts up front, but that the state's attorney, who
      makes a salary of about $248,000 a year from the city, has the means to pay the court back in installments
      over time. Mosby 's lawyers said in court...


71.   Baltimore news organizations ask judge to unseal records in Mosby case
      The Daily Record (Baltimore, MD) | Apr 28, 2022 | NEWS | 469 | Madeleine O'Neill
      ... The Daily Record, The Baltimore Sun and The Baltimore Banner have asked the judge handling
      Baltimore State's Attorney Marilyn Mosby 's federal criminal case to unseal records that the news
      organizations say should be public. The motion comes two...
      ... the case against Mosby , the defense team has made two requests to file documents under seal. In
      March, the defense said a series of documents needed to be sealed because they contained “confidential
      correspondence between the parties. ” In another...
      ... not make findings on the record as to why the documents should be shielded from public access. The
      parties to the case will have an opportunity to respond to the motion to unseal records. Mosby faces two
      counts each of perjury and making false...
      ... statements on loan applications. The indictment alleges that Mosby falsely claimed she had suffered
      financially during the COVID-19 pandemic in order to withdraw money from her city retirement account
      without incurring a penalty. She is also accused of...
      ... failing to disclose a $45,000 IRS lien when she applied for mortgages on two properties in Florida , and
      of making various false statements in order to secure favorable interest rates. Mosby has denounced the
      charges as politically motivated and untrue...


72.   Mosby seeks dismissal of perjury charges related to retirement withdrawals
      The Daily Record (Baltimore, MD) | Jun 01, 2022 | NEWS | 612 | Madeleine O'Neill
      ... Baltimore State's Attorney Marilyn Mosby is again seeking to dismiss the federal charges against her,
      this time focusing solely on two counts of perjury related to allegations that she falsely claimed pandemic-
      related financial hardship to withdraw...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 18 ofPage
                                                                          25 17 of 24
      ... money from her city retirement account. In a motion filed late Wednesday, Mosby 's lawyers asked
      permission to file a second motion to dismiss charges in her federal criminal case. U.S. District Judge Lydia
      Kay Griggsby last month rejected a motion to...
      ... dismiss the entire indictment on the grounds that the charges were brought out of personal animus.
      Wednesday's request, if granted, would mean another round of pretrial motions ahead of Mosby 's trial in
      September. In the proposed motion to dismiss the...
      ... Act allowed participants to avoid a 10% penalty for withdrawing retirement funds early and to spread out
      the taxes due on that money over three years. But Mosby 's retirement account wasn't subject to an early
      withdrawal penalty and she paid all of the...
      ... Florida . But Wednesday's proposed motion to dismiss argues that the perjury charges should be
      dropped because Mosby was allowed to self-certify that she had suffered financially meaning she did not
      make a "material" statement under the federal perjury...


82.   Keith Davis Jr. lawyers want Mosby held in contempt for gag order violation
      The Daily Record (Baltimore, MD) | Jun 16, 2022 | NEWS | 630 | Madeleine O'Neill
      ... The lawyers for a Baltimore man facing his fifth trial in a 2015 murder are seeking to have city State's
      Attorney Marilyn Mosby held in contempt for comments she made in a radio interview soon after a judge
      issued a gag order blocking lawyers from...
      ... sanction for the violation. "The egregiousness of ( Mosby 's) conduct requires dismissal because it is
      impossible to erase the taint of guilt that she has created and her conduct demonstrates that she is unable
      to conform her behavior," Davis's lawyers...
      ... did not return a message seeking comment. The motion requests a finding of civil contempt against
      Mosby , which means incarceration is not being sought as a consequence. The motion asks Nugent to
      order Mosby to explain why she should not be held in...
      ... under the order. Shortly after the ruling, Mosby appeared on WYPR's "Midday" show and responded to a
      question about the Davis case from host Tom Hall. Mosby acknowledged that a gag order was in place.
      Mosby did not discuss the case in detail, but made...
      ... that we are going to fight, and if a case has nothing substantively to do with the fact that we believe this
      is an individual that committed the offense, we’re going to fight for justice for that family." Nugent has not
      ruled on the motion to hold Mosby...


83.   Mosby 's lawyer says she qualified for relief State's attorney is accused of
      falsely claiming hardship in order to withdraw retirement money early to buy
      homes in Florida
      The Baltimore Sun | Jan 18, 2022 | MAIN; A; Pg. 3 | 921 | Jessica Anderson
      ... A lawyer for Baltimore State's Attorney Marilyn Mosby provided a defense Monday to charges that she
      lied when she claimed to have suffered financial hardship from the coronavirus pandemic to obtain an early
      withdrawal from her retirement savings to...
      ... a federal tax lien against her and her husband City Council President Nick Mosby, who has not been
      charged. Bolden said Monday that Marilyn Mosby was unaware of the lien at the time of the applications.
      "My client did not know about the tax lien...
      ... purchase two Florida homes. "I'm telling you she's not only innocent, but we have professionals who she
      consulted with. She qualified under the statute," Mosby 's attorney, A. Scott Bolden , said at a news
      conference Monday. Mosby , 41, is charged with...
      ... not face any of those circumstances, the indictment alleges, and said she received her full gross state's
      attorney salary of $247,955. Bolden indicated that Mosby 's fledgling private businesses allowed her to
      receive such relief. Mosby previously...
          Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 19 ofPage
                                                                          25 18 of 24
      ... opportunity to travel outside of urban cities so they can vacation at various destinations throughout the
      world at affordable rates," Mosby said previously. A spokeswoman for Mosby indicated in 2020 that the
      businesses were not yet active, and were considered...


86.   Trial for Baltimore State's Attorney Mosby set for May
      The Daily Record (Baltimore, MD) | Feb 23, 2022 | NEWS | 459 | Madeleine O'Neill
      ... The jury trial in Baltimore State's Attorney Marilyn Mosby 's federal criminal case has been scheduled
      for May 2. U.S. District Judge Lydia Kay Griggsby set the date Wednesday during a scheduling conference
      that was not open to the public. Griggsby...
      ... of the upcoming Democratic primary for Mosby 's post as Baltimore's top prosecutor. Mosby and Bolden
      have claimed that the prosecution is politically motivated and was timed to hurt Mosby in the leadup to her
      re-election campaign. A federal grand jury...
      ... indicted Mosby on Jan. 13 on two counts each of perjury and making false statements on loan
      applications. The indictment alleges that Mosby falsely claimed financial hardship during the COVID-19
      pandemic in order to withdraw money from her retirement...
      ... account without incurring the usual penalty. She is also accused of failing to disclose a $45,000 IRS lien
      when she applied for mortgages on two properties in Florida . Mosby pleaded not guilty at her initial
      appearance earlier this month. In pretrial...
      ... motions, Bolden said Mosby did not know about the lien when she applied for the Florida mortgages.
      The motions blame Mosby 's husband, City Council President Nick Mosby, for failing to inform her of a
      series of tax problems and then telling her...


93.   Judge in Mosby case updates sealing rules after letters from news
      organizations
      The Daily Record (Baltimore, MD) | Apr 15, 2022 | NEWS | 556 | Madeleine O'Neill
      ... The judge overseeing Baltimore State's Attorney Marilyn Mosby 's criminal case has vacated her
      previous orders sealing documents from public view after a group of news organizations wrote letters
      objecting to the practice. The order, filed late...
      ... wrote. "If the Court decides to seal documents, it must state its reasons on the record, supported by
      specific findings, and state its reasons for rejecting less restrictive alternatives." Since the beginning of the
      case against Mosby , the defense team...
      ... judge will make a decision on whether to unseal those documents and the rationale for that decision after
      that 14-day window. Mosby faces two counts each of perjury and making false statements on loan
      applications. The indictment alleges that Mosby...
      ... on two properties in Florida , and of making various false statements in order to secure favorable interest
      rates. At a hearing on Thursday, Griggsby denied a request from the defense to dismiss Mosby 's
      indictment. Mosby 's attorney, A. Scott Bolden...
      ... , tried to have the case thrown out by arguing that the lead prosecutor, Assistant U.S. Attorney Leo Wise,
      has a personal grudge against Mosby . Griggsby found the defense's arguments unconvincing and said
      there was no objective evidence of vindictive or...


95.   Mosby sells off Florida property for $696K State's attorney had bought it last
      year for $545,000
      The Baltimore Sun | Nov 13, 2021 | MAIN; A; Pg. 3 | 466 | Justin Fenton
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 20 ofPage
                                                                           25 19 of 24
       ... Baltimore State's Attorney Marilyn J. Mosby , facing mounting legal bills, has sold one of two Florida
       properties she recently purchased to a buyer from Baltimore County, property records show. Mosby sold
       her eight bedroom, 4,000-square-foot rental...
       ... County land records list the new owner as Grace Nyakoe, who took out a $548,000 mortgage from
       NewRez, LLC , to purchase the home. Reached by phone, Nyakoe said she did not know Marilyn Mosby
       but declined to discuss the transaction further. The property...
       ... property in Kissimmee on Nov. 2, according to the Osceola County Florida Clerk of Courts. The sales
       prices was $696,000, according to MLS data, nearly 30% more than the $545,000 she paid for it in
       September 2020. Mosby 's attorney, A. Scott Bolden released...
       ... , as well as a second near Sarasota , attracted attention in Baltimore earlier this year, as the purchases
       came as the IRS had a $45,000 tax lien against Mosby and her husband, Nick Mosby, and amid a criminal
       tax investigation of the couple. Mosby...
       ... , Mosby's campaign said in a statement that it sought to "establish an appropriate mechanism to set up a
       legal defense fund for the tens of thousands of dollars in additional costs" stemming from investigations of
       her finances. Her attorney, Bolden, said...


98.    State's Attorney Mosby slated for initial court appearance
       The Baltimore Sun | Feb 01, 2022 | MAIN; A; Pg. 3 | 453 | Alex Mann
       ... Baltimore State's Attorney Marilyn Mosby is slated to appear in court for the first time Friday afternoon
       following her federal indictment on perjury and false statement charges. Her initial appearance will be held
       virtually and is scheduled for 1...
       ... :30 p.m., according to the U.S. Attorney's Office. Mosby was indicted Jan. 13 on two counts of perjury
       and two counts of making false statements on loan applications to buy a pair of properties in Florida . The
       two-term state's attorney allegedly made...
       ... say Mosby experienced no such hardship and accused her of checking a box affirming under the penalty
       of perjury that her finances took a blow. Mosby allegedly used the withdrawals for down payments on an
       eight-bedroom rental home near Disney World and...
       ... policies Mosby enacted as the city's elected prosecutor. Bolden declined to comment on Mosby 's
       arraignment. Four more attorneys from his Washington, D.C. , law firm, Reed Smith LLC, have entered
       their appearance in Mosby 's defense. They are Daniel Zev...
       ... discuss Mosby 's pending case, citing rules of professional conduct that limit what he is allowed to say.
       Barron , however, defended his office's work generally in a meeting with reporters Jan. 18, saying his
       prosecutors follow the evidence and make...


100.   Indicted Baltimore State's Attorney Mosby launches impassioned defense: 'I
       have done nothing wrong'
       The Daily Record (Baltimore, MD) | Jan 14, 2022 | NEWS | 430 | Madeleine O'Neill
       ... Embattled Baltimore prosecutor Marilyn Mosby vowed to fight her federal charges Friday at an
       impassioned news conference in front of the Baltimore State’s Attorney’s Office that she has headed since
       2015. “I wanted the people of Baltimore to hear it...
       ... from me: I have done nothing wrong,” Mosby said in her first public comments since being indicted
       Thursday. She faces two counts each of perjury and making false statements on loan applications. Mosby
       did not take questions from the press at the news...
       ... . “This indictment is merely a political ploy by my political adversaries to unseat me,” Mosby said.
       “Please also understand that I will never let that happen without a fight. ” The allegations stem from Mosby
       's purchase of two Florida vacation homes in...
       ... designed to politically damage Mosby , who is up for reelection this year. In a radio interview Friday,
       Bolden said he tried to present exculpatory evidence to prosecutors, but that they declined to meet with
       him. He told WYPR's Tom Hall that Mosby had...
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 21 ofPage
                                                                           25 20 of 24
       ... use her retirement money to make investments. Both Mosby and Bolden noted that the lead prosecutor
       handling her case, Assistant U.S. Attorney Leo Wise, made campaign contributions to two of Mosby 's
       political opponents in the 2018 primary. She went on...


103.   Mosby pleads not guilty State's attorney is facing federal charges of perjury,
       making false statements
       The Baltimore Sun | Feb 05, 2022 | MAIN; A; Pg. 1 | 731 | Jessica Anderson
       ... Baltimore State's Attorney Marilyn Mosby pleaded not guilty to federal charges of perjury and making
       false statements Friday, and is seeking a speedy trial within the next two months. The city's top prosecutor,
       who is up for reelection, went before...
       ... the hearing. Mosby was indicted Jan. 13 on two counts of perjury and two counts of making false
       statements on loan applications to buy a pair of properties in Florida . She entered a not guilty plea to all
       four counts. Mosby , Bolden and Mosby 's...
       ... advised her of her constitutional rights to remain silent, and the right to be represented by counsel at all
       stages of the proceedings. Wise said the government was not asking for Mosby to be detained pending
       trial. Federal prosecutors allege that Mosby...
       ... operated. Mosby did not face any of those circumstances, and received her full gross state's attorney
       salary of $247,955, according to the indictment. At a news conference last month, Bolden provided a
       defense in the case, saying that Mosby was eligible to...
       ... purchased two properties in Florida , and lied on the mortgage loan applications by failing to disclose a
       federal tax lien against her and her husband, Democratic City Council President Nick Mosby, who has not
       been charged. Bolden has said Mosby was unaware...


108.   Feds say they have Mosby on tape Revelation comes as defense doubles
       down on the claim prosecutors are acting vindictively
       The Baltimore Sun | Mar 26, 2022 | MAIN; A; Pg. 1 | 900 | Lee O. Sanderlin and Alex Mann
       ... As lawyers for Baltimore State's Attorney Marilyn Mosby doubled down on their allegations of
       vindictiveness from federal prosecutors, the feds revealed a new detail about their case: The government
       has recordings of phone calls between Mosby and the...
       ... had argued that hiccups in the pretrial exchange of information between prosecution and defense could
       impact the May 2 trial date. Mosby is charged with two counts of perjury related to her penalty-free
       withdrawals from her retirement account, and the...
       ... common business practice. Prosecutors claim Mosby lied in 2020 about experiencing financial hardship
       during the pandemic so she could withdraw $81,000 without penalty from her City of Baltimore retirement
       savings account to make down payments on two...
       ... lined up a company to run it as a rental, a maneuver to secure a lower interest rate. Mosby 's attorney,
       A. Scott Bolden , did not respond to a request for comment Friday evening. Her attorneys have responded
       to the charges by railing against the U.S...
       ... have sought to have Wise removed from the case, and the indictment against Mosby dismissed. Federal
       prosecutors dismissed the claims as legally and factually meritless, saying their prosecution is driven by the
       evidence against Mosby . Friday was the...


113.   Judge denies motion to dismiss federal charges against Mosby
       The Daily Record (Baltimore, MD) | Apr 14, 2022 | NEWS | 645 | Madeleine O'Neill
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 22 ofPage
                                                                           25 21 of 24
       ... A federal judge denied a request from Baltimore City State’s Attorney Marilyn Mosby to dismiss her
       federal indictment Thursday, finding that the defense had shown no objective evidence the charges were
       brought out of personal animus. U.S. District...
       ... Judge Lydia Kay Griggsby ruled from the bench after a lengthy hearing at which Mosby ’s lawyer, A.
       Scott Bolden , tried to turn the spotlight on the lead prosecutor, Assistant U.S. Attorney Leo Wise, and
       argue that Wise targeted Mosby for prosecution...
       ... vindictive prosecution, though she said she accepted the factual allegations as true for the purposes of
       deciding the motions. Mosby repeatedly shook her head while Griggsby was announcing the decision.
       After the hearing, Mosby struck a defiant tone and said...
       ... dismiss the charges, they're problematic," Bolden said. As she entered the courthouse before the
       hearing, Mosby was flanked by her husband, City Council President Nick Mosby, and greeted by a small
       group of supporters who shouted that she is "built for...
       ... this," in reference to comments Mosby made soon after being indicted. The defense's arguments meant
       that most of Thursday's hearing centered on Wise, rather than the case against Mosby. The indictment
       alleges that she falsely claimed financial hardship...


118.   Davis alleges online post by Mosby violated court order
       The Baltimore Sun | Jul 08, 2022 | MAIN; A; Pg. 3 | 912 | Alex Mann and Lee O. Sanderlin
       ... Baltimore State's Attorney Marilyn Mosby earlier this week commented on an Instagram post about the
       repeated prosecutions of Keith Davis Jr., potentially violating an order prohibiting lawyers involved with the
       case from talking publicly about it...
       ... the Democrat, who is seeking a third term as the city's elected prosecutor. Circuit Court Judge John
       Nugent found the original motion from the defense, which accused Mosby of violating the so-called gag
       order within an hour of it taking effect in June...
       ... . A caption calls the repeated prosecutions of Davis "alarming persecution." The Instagram account has
       approximately 156,000 followers; one commenter said Mosby had lost her vote. With the Democratic
       primary election looming July 19, Mosby 's official...
       ... motion, Mosby 's prosecutors argued that their boss's comments last month on the radio were not willful
       or directly related to the case. They also said the defense argument was "moot" because Mosby 's radio
       interview was over and asked Nugent to withdraw...
       ... his order mandating Mosby appear in court. Davis' lawyers argued the Instagram comment showed
       Mosby would continue to make extrajudicial statements about the case without the judge's intervention.
       "Ms. Mosby 's unrestrained, continued conduct on...


121.   May trial date scheduled for Mosby Baltimore state's attorney faces perjury,
       false statement charges
       The Baltimore Sun | Feb 25, 2022 | MAIN; A; Pg. 3 | 589 | Alex Mann
       ... A federal trial for Baltimore State's Attorney Marilyn Mosby has been scheduled for May 2. U.S. District
       Judge Lydia Kay Griggsby chose that date for a jury trial following a status conference with Mosby 's
       lawyers and federal prosecutors Wednesday...
       ... not tell Marilyn about the tax lien until after she signed the mortgage documents, according to an
       affidavit cited in a Feb. 18, 2021, letter from Mosby's attorney. Excerpts of the affidavit appear in a package
       of documents attached to the defense's...
       ... federal CARES Act by claiming she suffered financially because of the coronavirus pandemic. Federal
       prosecutors contend Mosby experienced no hardship, and cited a salary increase. Mosby makes almost
       $248,000 a year. Mosby allegedly used the withdrawals for...
       ... . Attorney Erek Barron and Leo Wise, the assistant U.S. attorney leading the prosecution, of harboring
       animosity toward Mosby . In separate motions, Mosby lawyers asked Griggsby to disqualify Wise from
       prosecuting Mosby and demanded the government provide...
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 23 ofPage
                                                                           25 22 of 24
       ... more information about its allegations. The defense said prosecutors failed to show that Mosby did not
       qualify for CARES Act withdrawals or that Mosby knew about the tax lien. Mosby 's husband, Baltimore
       City Council President Nick Mosby, said he did...


125.   Witness previously called actions 'dumb' Revelation comes after Mosby and
       prosecutors reveal experts scheduled to testify at trial mosby perjury and
       mortgage fraud trial
       The Baltimore Sun | Jul 19, 2022 | MAIN; A; Pg. 1 | 980 | Lee O. Sanderlin and Alex Mann
       ... Witness previously called actions 'dumb' Revelation comes after Mosby and prosecutors reveal experts
       scheduled to testify at trial mosby perjury and mortgage fraud trial...
       ... An expert witness hired by Baltimore State's Attorney Marilyn Mosby to help her defense at her
       upcoming perjury and mortgage fraud trial previously called her actions "quite dumb." Mosby 's lawyers
       plan to call Eric Forster, a California -based...
       ... . The government is paying for Mosby 's witnesses, at least in part, after a judge found she likely cannot
       afford them. Expert witness testimony can cost more than $10,000. Her trial is scheduled for Sept. 19.
       Mosby 's defense team, led by attorney A...
       ... favorable loan terms. In a March interview with The Baltimore Sun, Forster discussed Mosby 's
       indictment at length, saying her alleged ploy to save on interest and down payments was commonplace.
       Forster did not respond to a request for comment Monday...
       ... prosecutors' prejudice for Mosby and her policies as state's attorney. The government vehemently
       rejected those allegations; Griggsby denied the defense's request, finding it was problematic. In addition to
       Mosby 's alleged indiscretions related to the so...


126.   In new court filings, feds say Mosby has 'invented a tale of victimhood'
       The Daily Record (Baltimore, MD) | Mar 11, 2022 | NEWS | 595 | Madeleine O'Neill
       ... Federal prosecutors accused Baltimore State's Attorney Marilyn Mosby of inventing a "tale of
       victimhood" to deflect from her criminal charges in a lengthy response to her allegations of bias filed Friday.
       In a 61-page filing, the government asked U...
       ... .S. District Judge Lydia Kay Griggsby to deny Mosby 's motion to dismiss the indictment. Mosby faces
       two counts each of perjury and making false statements on loan applications. "The Defendant’s motion
       finds no support in the facts, the law, or even...
       ... against the lead prosecutor, Assistant U.S. Attorney Leo Wise, based in part on the fact that he made
       donations of $100 to each of her competitors in the 2018 Democratic primary. Mosby went on to win that
       election. Mosby has also indicated that she plans...
       ... did not bring any additional charges. Inpretrial motions, Mosby 's lawyer, A. Scott Bolden , said Mosby
       did not know about the tax lien when she applied for the Florida mortgages. The motions blame Mosby ’s
       husband, City Council President Nick Mosby...
       ... response also denies that the investigation into Mosby began with a referral from Maryland Bar Counsel,
       which Mosby alleged in pretrial filings. Mosby has received about 17,000 pages of discovery since being
       indicted, according to the response. "While this...


143.   Mosby case shows ordinary men understand COMMENTARY
       The Baltimore Sun | Jun 03, 2022 | MAIN; A; Pg. 3 | 919
       ... Attorney, Marilyn Mosby ( Boston College Law School , 2005), claim she shouldn't be prosecuted for
       perjury because of those three words in the federal law she allegedly violated. They say "adverse financial
       consequences" is "not a phrase with a meaning...
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 24 ofPage
                                                                           25 23 of 24
       ... charge of perjury," Mosby 's lawyers argue, citing case law. They say Congress failed to define "adverse
       financial consequences," and the phrase could have broad meaning. "Even if receiving their full salary,"
       Mosby 's side argues, "does that person...
       ... would have generated?" That last reference - to "starting and implementing" a business - is interesting
       because it brings up the matter of two companies Mosby created in 2019. After the existence of Mahogany
       Elite Consulting and Mahogany Elite Travel...
       ... became known, Mosby said the companies were not yet active. She later said she had "not taken on a
       single client for these companies, nor have I taken in any money." But, in a media appearance in January,
       her lead attorney, A. Scott Bolden , suggested...
       ... that Mosby 's businesses had been adversely affected by the pandemic, contradicting what his client
       had said about them. Of course, the same attorney claimed "prosecutorial vindictiveness" against Mosby ,
       saying the investigation and indictment were...


145.   Mosby defense team wants federal prosecutor to testify at evidentiary
       hearing
       The Daily Record (Baltimore, MD) | Mar 25, 2022 | NEWS | 704 | Madeleine O'Neill
       ... The defense lawyers for Baltimore State's Attorney Marilyn Mosby want the lead federal prosecutor on
       her criminal case disqualified, but short of that, they want an evidentiary hearing at which the prosecutor
       would have to answer questions about his...
       ... statements on loan applications. Her team has argued repeatedly that Wise and other members of the
       prosecution team targeted Mosby because of her politics and her race. Wise, the defense noted, donated
       small amounts to each of Mosby 's opponents in the 2018...
       ... against Mosby . The donations also came just days after Mosby and Wise had an acrimonious meeting
       about allegations that a member of the State's Attorney's Office had leaked information about a federal
       investigation into corrupt members of the Baltimore...
       ... Police Department's Gun Trace Task Force, Bolden wrote. Wise did not have documents about the
       alleged tip-off when Mosby pressed for that information at the meeting, Bolden wrote. "Thefact remains
       that the lead prosecutor against State’s Attorney Mosby...
       ... that the unique nature of the charges against Mosby is further evidence of animus. Mosby is accused of
       falsely claiming she suffered a financial hardship during COVID-19 in order to withdraw money from her
       retirement account without incurring a penalty...


161.   Sunday News Shows INTERVIEW GUESTS
       The Baltimore Sun | Jan 16, 2022 | MAIN; A; Pg. 8 | 380
       ... Exclusive: "Baltimore 2022 through the eyes of former three-term Baltimore Mayor Kurt L. Schmoke,"
       who is now President of the University of Baltimore . What's his reaction to the federal indictment of
       Baltimore State's Attorney Marilyn Mosby ? Schmoke was...


165.   State's attorney trial gets delayed Federal judge approves request made by
       Mosby to postpone until September
       The Baltimore Sun | Apr 06, 2022 | MAIN; A; Pg. 1 | 794 | Alex Mann
       ... A federal judge approved Baltimore State's Attorney Marilyn Mosby 's request to postpone her criminal
       trial, setting a new date in September. After a teleconference with Mosby 's defense lawyers and federal
       prosecutors Tuesday morning, U.S. District...
           Case 1:22-cr-00007-LKG Document 151-1 Filed 11/18/22 Page 25 ofPage
                                                                           25 24 of 24
       ... Judge Lydia Kay Griggsby scheduled the trial for Sept. 19. It's unclear how many days Griggsby set
       aside for the trial, but prosecutors said in a February status report they anticipated trying the case in four
       days. Mosby has maintained she is innocent...
       ... Griggsby . The new trial date set Tuesday means Mosby 's day in court will come after the July 19
       primary. While Mosby hasn't officially filed to run for reelection, videos emerged online this week appearing
       to show her at a March campaign event. Reviewed...
       ... by The Baltimore Sun, the footage depicted an impassioned Mosby speaking to supporters from what
       appear to be the steps to her home in Reservoir Hill. Mosby repeated her assertions that she's being
       persecuted because of her policies, while touting her...
       ... Democratic primary in defense attorney Ivan Bates and former prosecutor and mayoral candidate Thiru
       Vignarajah, and runs with her trial looming. The indictment charges Mosby with two counts of perjury and
       two counts of making false statements on loan...


177.   Prosecutors deny Mosby 's claims of bias
       The Baltimore Sun | Mar 12, 2022 | MAIN; A; Pg. 1 | 915 | Alex Mann and Lee O. Sanderlin
       ... Federal prosecutors shot back Friday afternoon against arguments raised by Baltimore State's Attorney
       Marilyn Mosby last month, dismissing her claims of prejudiced prosecution as factually baseless and
       legally meritless. Whereas lawyers for the city...
       ... declaration from a woman who claimed she heard Barron make disparaging remarks about Mosby when
       Barron served as a Maryland Delegate. The author of the declaration works at Baltimore City Hall for Nick
       Mosby, the city council president and Marilyn 's husband...
       ... they have against Mosby and argued her lawyers could cite no law to suggest her case should be
       thrown out. Mosby 's attorney did not respond to a request for comment Friday afternoon. The U.S.
       Attorney's Office declined to comment beyond what was said...
       ... in the filing. The federal prosecutors' lengthy filings come a day after they filed a superseding indictment
       against Mosby that added no new charges but provided further evidence for their case against her. Mosby
       is charged with two counts of perjury...
       ... pleading accused Barron of making a disparaging comment about Mosby while he was a lawmaker in
       Annapolis and highlighted Wise's donations to some of Mosby 's opponents in the 2018 election. Wise
       donated $100 to Thiru Vignarajah and Ivan Bates, Mosby 's 2018...


206. Investigation into Mosbys includes donations

       The Baltimore Sun | Mar 26, 2021 | MAIN; A; Pg. 2 | 864 | Lorraine Mirabella
       ... investigation of Baltimore City Council President Nick Mosby and State's Attorney Marilyn Mosby , the
       U.S. Attorney's Office and the FBI have sought tax returns, bank statements, credit card statements, loan
       documents and canceled checks. They also have...
       ... subpoenaed Marilyn Mosby 's campaign treasurer and requested records tracing back to 2014, some
       related to the Mosbys' private travel and consulting businesses. Donations to churches and other nonprofits
       have been part of the probe, too. Federal grand jury...
       ... . Dillon,a Towson -based tax attorney who represents both businesses and individuals. In the Mosby
       case, investigators are seeking information about whether Nick Mosby contributed to Union Baptist,
       according to a church official. The pastor of Bethel AME...
       ... . "If you get something in return, it's not a pure charitable contribution and you don't get full tax benefits
       for a donation," Dillon said. In the Mosby case, Sharayna Christmas, executive director of Muse 360, told
       The Sun she received a subpoena...
       ... said that he reviewed records and found Nick Mosby had made a negligible donation. "I spend more at
       Starbucks ," Robert Dashiell told The Sun. Emerson L. Dorsey Jr., an attorney for the Mosbys' church, New
       Psalmist Baptist Church, declined to discuss...
